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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    JULI WINTJEN, on behalf of herself and
    others similarly situated,
                                                                      2:19-CV-00069-CCW
                  Plaintiff,

          v.

    DENNY’S INC.,


                  Defendant.

                                                  ORDER

          For the reasons stated in the Court’s Opinion filed contemporaneously herewith, IT IS

HEREBY ORDERED that Plaintiff Ms. Wintjen’s Motion for Summary Judgment is GRANTED

IN PART and DENIED IN PART as follows:

          1.     Summary Judgment in favor of Ms. Wintjen and the class members is GRANTED

                 with respect to their tip credit notice claim under the PMWA;

          2.     Summary Judgment in favor of the Notice List Employees 1 is DENIED with

                 respect to their tip credit notice claim under the FLSA;

          3.     Summary Judgment in favor of Ms. Wintjen and the collective action members is

                 GRANTED with respect to their tip credit notice claim under the FLSA and

                 DENIED with respect to the issues of willfulness and liquidated damages.



          IT IS FURTHER ORDERED that Defendant Denny’s Inc.’s Motion for Summary

Judgment is DENIED.



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 Patricia Keller, Rosemary Clark, Susanna Kibler, Sherry Chess, Teresa Stoudt, Gretchen Schumann (née Cochran),
Sarah Gower, Kristen Burns (née Margie), Brent Rodgers, and April Howard.
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       IT IS SO ORDERED.



       DATED this 22nd day of February, 2024.



                                         BY THE COURT:



                                         /s/ Christy Criswell Wiegand
                                         CHRISTY CRISWELL WIEGAND
                                         United States District Judge




cc (via ECF email notification):

All Counsel of Record




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